                                             Case 5:24-cv-03811-EKL                                  Document 274               Filed 11/26/24                   Page 1 of 1


  UNITED STATES DISTRICT COURT                                                                          TRANSCRIPT ORDER                                                                       COURT USE ONLY
 NORTHERN DISTRICT OF CALIFORNIA                                                               Please use one form per court reporter.                                                             DUE DATE:
                 CAND 435
            (CAND Rev. 08/2018)                                                                Please read instructions on next page.
1a. CONTACT PERSON FOR THIS ORDER                                               2a. CONTACT PHONE NUMBER                                               3. CONTACT EMAIL ADDRESS


1b. ATTORNEY NAME (if different)                                                2b. ATTORNEY PHONE NUMBER                                              3. ATTORNEY EMAIL ADDRESS


4. MAILING ADDRESS (INCLUDE LAW FIRM NAME, IF APPLICABLE)                                               5. CASE NAME                                                                               6. CASE NUMBER

                                                                                                                                                                                                   5:24-cv-03811-EKL
                                                                                                        8. THIS TRANSCRIPT ORDER IS FOR:
7. COURT REPORTER NAME ( FOR FTR, LEAVE BLANK AND                                        FTR                APPEAL            CRIMINAL            In forma pauperis (NOTE: Court order for transcripts must be attached)
                                                                                                            NON-APPEAL        CIVIL            CJA: Do not use this form; use Form CJA24.


9. TRANSCRIPT(S) REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested), format(s) & quantity and delivery type:

                                                                                         b.     SELECT FORMAT(S) (NOTE: ECF access is included
 a.   HEARING(S) (OR PORTIONS OF HEARINGS)                                                                                                             c.        DELIVERY TYPE ( Choose one per line)
                                                                                                with purchase of PDF, text, paper or condensed.)

                    JUDGE             TYPE                    PORTION                       PDF       TEXT/ASCII     PAPER   CONDENSED   ECF ACCESS   ORDINARY       14-Day   EXPEDITED    3-DAY     DAILY      HOURLY     REALTIME
                                                 If requesting less than full hearing,    (email)       (email)                (email)      (web)     (30-day)                 (7-day)             (Next day)    (2 hrs)
                     (initials)    (e.g. CMC)   specify portion (e.g. witness or time)




10. ADDITIONAL COMMENTS, INSTRUCTIONS, QUESTIONS, ETC:




ORDER & CERTIFICATION (11. & 12.) By signing below, I certify that I will pay all charges (deposit plus additional).                                                            12. DATE
11. SIGNATURE
